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 9   UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                       No. CR 23-cr-00599-MCS
14               Plaintiff,                          EX PARTE APPLICATION FOR ORDER
15                                                   REQUIRING DEFENDANT TO COMPLY
                        v.                           WITH COURT’S STANDING ORDER
16                                                   AND EXCHANGE PROPOSED JURY
     ROBERT HUNTER BIDEN,
17                                                   INSTRUCTIONS WITH GOVERNMENT
18               Defendant.
19
20         The United States of America, by and through its counsel of record, hereby
21   applies ex parte for an order that requires the defendant to exchange proposed jury
22   instructions with the government pursuant to the Court’s Standing Order. While the
23   government sent proposed jury instructions prior to the deadline in the Standing Order,
24   the defendant simply ignored the deadline and has not submitted any proposed jury
25   instructions to the government. Because he did not seek to stay these proceedings and the
26   Court has not been divested of jurisdiction through the defendant’s notice of appeal of a
27   nonappealable order, the government requests an order from this Court that commands
28   the defendant to comply with the Standing Order. On May 1, 2024, counsel for the

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 1   defendant, Mr. Abbe Lowell, advised that the defendant’s position is that his appeal “has
 2   divested the district court of jurisdiction to move forward and that includes deadlines for
 3   exchanging or filing pretrial documents contemplated in a scheduling order.” But no
 4   court has ever held an interlocutory appeal is permitted for the three rulings that this
 5   defendant now seeks to appeal - an appeal of the Court’s order (1) denying a motion to
 6   dismiss based on immunity purportedly conferred by a diversion agreement, (2) denying
 7   a motion to dismiss based on the alleged unlawfulness of a Special Counsel
 8   Appointment, and (3) denying a motion to dismiss based on a supposed breach of
 9   separation of powers. And no court has ever held that an appeal from an order denying
10   such rulings automatically divests the court of jurisdiction. The defendant is simply
11   choosing to ignore the Standing Order, without first seeking relief from this Court, while
12   hoping that the Ninth Circuit will, contrary to its prior precedent, be the first court to find
13   it has jurisdiction to consider the issues involved in his interlocutory appeal. An order is
14   therefore needed from this Court to keep the pretrial schedule and deadlines on track for
15   the trial scheduled for June 20, 2024.
16         This ex parte application is made based on the attached memorandum of points
17   and authorities, the files and records in this case, and the attached declaration of counsel.
18
19    Dated: May 6, 2024                         Respectfully submitted,
20
                                                 DAVID WEISS
21                                               Special Counsel
22
                                                 /s/
23                                               LEO J. WISE
                                                 Principal Senior Assistant Special Counsel
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25                                               DEREK E. HINES
26                                               Senior Assistant Special Counsel

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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant Robert Hunter Biden failed to comply with this Court’s Standing Order
 4   when he declined to exchange proposed jury instructions 28 days prior to the final
 5   pretrial conference. The Standing Order sets out a series of deadlines that both parties
 6   must comply with to proceed to trial on June 20, 2024. While the defendant has filed a
 7   notice of appeal, doing so did not automatically divest this Court of jurisdiction and the
 8   Standing Order remains active absent a judicial determination that relieves the defendant
 9   of his obligation to comply with the Standing Order. See Nascimento v. Dummer, 508
10   F.3d 905, 910 (9th Cir. 2007) (“[W]hen an improper appeal is taken, the district court
11   retains its jurisdiction to act on the case, and its extant orders must be followed by the
12   litigants, at risk of grave sanction.”) Rather than seeking a judicial determination by
13   filing a motion to stay, the defendant unilaterally decided to ignore the Standing Order
14   and is attempting to delay his trial. See id. (“No stay of the district court proceedings
15   pending resolution of the appeal had been sought or granted, and so Nascimento
16   remained under an obligation to comply with the district court’s orders and pretrial
17   timetable notwithstanding his appeal.”) Because he has not sought a stay and the law is
18   clear that this Court was not automatically divested of jurisdiction, the government seeks
19   an order from the Court requiring that the defendant provide his proposed jury
20   instructions immediately and meet all other deadlines listed in the Standing Order in
21   advance of the June 20, 2024, trial.
22   II.   BACKGROUND
23         The Court’s Standing Order governs pretrial deadlines in this case. See Initial
24   Standing Order for Criminal Cases Assigned to Judge Mark C. Scarsi (Dec. 2021),
25   available at https://www.cacd.uscourts.gov/sites/default/files/documents/MCS/AD/
26   Criminal%20Case%20Standing%20Order%20Dec.%202021.pdf. At the arraignment on
27   January 11, 2024, the Court reminded the parties of their obligations to comply with the
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 1   Standing Order. See Doc. No. 16. With respect to potential interlocutory appeals, during
 2   the hearing on January 11, 2024, the Court stated:
 3         And then, finally, you know, in the Ninth Circuit there’s a high bar for
           interlocutory appeals. The leading case there is U.S. vs. Austin, 416 F.3d
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           1016. To the extent anybody -- the defense wants to argue that denial of their
 5         motion should lead to an interlocutory appeal, please include that in your
           briefing. Because what I would like to do is, if that’s going to be requested, I
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           would like to deal with it all at once, if we can, just to streamline things a bit.
 7   Doc. No. 18. Trans. 30:6-15.
 8          In response to the Court’s directive, counsel for the defendant, Mr. Lowell, stated,
 9   “Fine. Exactly. We will do that.” Id. at 30:16. But the defendant did not do that and still
10   has not briefed the Court on why the Court’s order denying his motions is subject to an
11   interlocutory appeal. It is not.
12          On May 1, 2024, the government sent defense counsel an email which included an
13   attachment with proposed jury instructions, pursuant to the Standing Order ¶G(4). Decl.
14   at ¶ 2, Exhibit 1. As of the filing of this motion, defense counsel has not exchanged their
15   proposed jury instructions with the government. Id. In an email response on May 1,
16   2024, Mr. Lowell stated, “. . . the appeal has divested the district court of jurisdiction to
17   move forward and that includes deadlines for exchanging or filing pretrial documents
18   contemplated in a scheduling order.” Id. In an email reply on May 2, 2024, the
19   government stated that, “Nothing has been filed, let alone ruled on, in the Central
20   District of California that relieves you of complying with the Court’s deadlines.” Id.
21   The defendant still has not filed a request for a stay and the government therefore brings
22   this motion. Indeed, no court has ever held that a district court is divested of jurisdiction
23   for an appeal of an order denying the three motions to dismiss that the defendant appeals.
24   III.   ARGUMENT
25          A.    The Defendant’s Notice of Appeal Did Not Automatically Divest this
26                Court of Jurisdiction

27          The filing of an appeal from an appealable order divests the district court of its
28   control over those aspects of the case involved in an appeal. Griggs v. Provident

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 1   Consumer Discount Co., 459 U.S. 56 (1982). By contrast, the “transfer of jurisdiction
 2   from the district court to the court of appeals is not effected, however, if a litigant files a
 3   notice of appeal from an unappealable order.” Estate of Conners by Meredith v.
 4   O’Connor, 6 F.3d 656, 658 (9th Cir. 1993) (holding that the act of filing a notice of
 5   appeal does not automatically divest a district court of jurisdiction). See also Ruby v.
 6   Secretary of the Navy, 365 F.2d 385, 389 (9th Cir. 1966) (en banc), cert. denied, 386
 7   U.S. 1011 (1967) (finding jurisdiction was not ousted merely by noticing an
 8   appeal). Like civil cases, the district court also retains jurisdiction after the filing of a
 9   notice of appeal of a nonappealable order in a criminal case. See e.g., United States v.
10   Garner, 663 F.2d 834, 838 (9th Cir.1981) (holding district court’s order denying
11   defendant’s motion to dismiss indictment due to alleged grand jury irregularities was not
12   appealable and district court therefore maintained jurisdiction to proceed with the trial
13   even after the filing of the notice of appeal), cert. denied, 456 U.S. 905 (1982); United
14   States v. Morales-Bravo, 650 Fed.Appx. 530, 532 (9th Cir. 2016) (unreported) (finding
15   district court retained jurisdiction in criminal case where defendant sought appeal from a
16   nonappealable order); United States v. Amarra-Herrarte, 153 Fed.Appx. 452 (9th Cir.
17   2005) (unreported) (in a criminal case, “[a]n appeal from an unappealable order does not
18   divest a district court of jurisdiction”).
19          Accordingly, “[w]hen a Notice of Appeal is defective in that it refers to a non-
20   appealable interlocutory order, it does not transfer jurisdiction to the appellate court, and
21   so the ordinary rule that the district court cannot act until the mandate has issued on the
22   appeal does not apply.” Nascimento v. Dummer, 508 F.3d at 908. In Nascimento, the
23   Ninth Circuit explained, “when a litigant makes an improper interlocutory appeal, such
24   action will not throw a monkey wrench into the machinery of our justice system.” Id. at
25   910. The law in the Ninth Circuit is clear that “when an improper appeal is taken, the
26   district court retains its jurisdiction to act on the case, and its extant orders must be
27   followed by the litigants, at risk of grave sanction.” Id. at 910. In Nascimento, the Court
28   further held that:

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 1         No stay of the district court proceedings pending resolution of the appeal had
           been sought or granted, and so Nascimento remained under an obligation to
 2
           comply with the district court’s orders and pretrial timetable notwithstanding
 3         his appeal.
 4   Id. Like Nascimento, here the same reasoning applies—the defendant remains under an
 5   obligation to comply with this Court’s Standing Order and pretrial timetable
 6   notwithstanding his appeal because he has not sought and been granted a stay.
 7         Indeed, the defendant has not filed anything in this Court requesting relief from
 8   the Standing Order or scheduling order while he pursues an appeal. Consequently, the
 9   Standing Order and scheduling order remain live orders of the Court that the government
10   has complied with while the defendant has not. And by not seeking a stay of the Court’s
11   deadlines, the defendant is attempting to delay trial, or otherwise obtain an unfair
12   advantage in these proceedings by receiving the government’s positions, exhibits,
13   witness list, and motions in limine, without providing his own simultaneous disclosures
14   pursuant to the Standing Order.
15         B.     The Ninth Circuit Does Not Have Jurisdiction Because the Defendant
                  Sought to Appeal a Nonappealable Order
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17         Because the defendant filed an improper notice of appeal of a nonappealable
18   order, the government filed a motion to dismiss the appeal on April 22, 2024. Exhibit 2.
19   The defendant filed a response on April 30, 2024. Exhibit 3. The government filed a
20   reply on May 6, 2024. Exhibit 4. The matter is fully briefed and the government has
21   requested relief by May 14, 2024, pursuant to Ninth Circuit Rule 27-1(3). Exhibit 2.
22         Although his notice of appeal did not specify which issues he was appealing (he
23   simply attached to his notice the entire order of the court denying all of his motions), the
24   defendant later stated in response to the motion to dismiss that he sought to appeal the
25   court’s denial of three of his motions: (1) motion to dismiss based on an alleged
26   improper appointment and funding of the Special Counsel, (2) motion to dismiss based
27   on immunity purportedly conferred by the diversion agreement, and (3) motion to
28   dismiss based on a supposed breach of the separation of powers. Exhibit 3 at p. 1.

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 1         In his response to the motion to dismiss, defendant made a series of claims before
 2   the appellate court that underscore how deficient his arguments really are:
 3         (1) the defendant dishonestly stated that he requested an injunction by moving this
 4   Court to “enjoin” Special Counsel David Weiss, even though he never asked for
 5   injunctive relief or even mentioned the word “enjoin” in any of his briefing, because the
 6   law is clear that only denials of requests for an injunction (and not a denial of a motion
 7   to dismiss) may be subject to an interlocutory appeal;
 8         (2) the defendant erroneously asserted that his immunity claim was derived from
 9   the Fifth Amendment, like a Double Jeopardy claim, as opposed to a contractual
10   agreement with the government, and he argued that the diversion agreement is
11   ambiguous, even though he argued it was unambiguous before this Court;
12         (3) the defendant falsely claimed that he filed a petition for writ of mandamus
13   even though he has not and could never satisfy the relevant factors for mandamus even if
14   he had chosen to do so;
15         (4) the defendant argued the Ninth Circuit should be the first court to find that a
16   denial of a motion to dismiss for a breach of separation of powers claim is immediately
17   appealable as a collateral order, even though the collateral order doctrine is limited by
18   precedent to Double Jeopardy claims, Speech and Debate claims, and bail orders; and
19          (5) the defendant invented the legal proposition that his claims are independently
20   reviewable under the “pendent jurisdiction” doctrine, even though the actual law of
21   “pendent jurisdiction” requires the issues he raises to be pendent to a matter over which
22   the appellate court already has jurisdiction.
23         For the reasons discussed in the government’s appellate briefs, Exhibits 2 and 4,
24   the Court’s order is nonappealable and there is no appellate jurisdiction over an
25   interlocutory appeal. Since there has been no finding that this Court has lost jurisdiction,
26   this Court has inherent authority to enforce its Standing Order. Because the defendant
27   has not sought a stay, the Standing Order and scheduling order remain live orders that
28   the Court should enforce.

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 1         C.     This Court Should Issue an Order Requiring the Defendant to Follow
                  its Standing Order and Exchange Proposed Jury Instructions
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 3         In order to keep the trial on schedule for June 20, 2024, the government requests
 4   that this Court issue an order requiring the defendant to comply with pretrial deadlines in
 5   the Standing Order. Even if the Ninth Circuit dismisses the appeal soon, it will be
 6   difficult to maintain the trial date of June 20, 2024, if the defendant continues to refuse
 7   to comply with the Standing Order. For example, on or before May 8, 2024, the parties
 8   must exchange objections to proposed jury instructions, meet and confer regarding a
 9   statement of the case, exchange exhibit lists, and meet and confer regarding admissibility
10   of exhibits. Standing Order ¶¶G(4), G(1), 6(a). Motions in limine, the statement of the
11   case, voir dire, witness lists, jury instructions, a verdict form, and exhibits lists are due
12   on or before May 15, 2024. Standing Order ¶¶ F, G(1), G(2), G(3), G(4), G(5), 6(a).
13   Because of these imminent deadlines, the government respectfully requests this ex parte
14   relief to confirm that the defendant has not been relieved from the pretrial deadlines
15   listed in the Standing Order. Additionally, by issuing the requested order, the defendant
16   will be unable to rely on his noncompliance with the Court’s deadlines as a basis for a
17   continuance of the trial date.
18   IV.   CONCLUSION
19         For the foregoing reasons, the government respectfully requests that this Court
20   issue an order requiring the defendant to comply with the pretrial deadlines in the
21   Court’s Standing Order and exchange proposed jury instructions immediately.
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 1                          DECLARATION OF DEREK E. HINES
 2         I, Derek E. Hines, declare as follows:
 3         1.     I am the Senior Assistant Special Counsel and represent the government in
 4   the prosecution of United States of America v. Robert Hunter Biden, No. CR 23-cr-
 5   00599-MCS.
 6         2.     On May 1, 2024, the government sent defense counsel an email which
 7   included an attachment with proposed jury instructions, pursuant to the Court’s Standing
 8   Order ¶G(4). Exhibit 1. As of the filing of this motion, defense counsel has not exchanged
 9   their proposed jury instructions with the government. In an email response on May 1,
10   2024, Mr. Lowell stated, “. . . the appeal has divested the district court of jurisdiction to
11   move forward and that includes deadlines for exchanging or filing pretrial documents
12   contemplated in a scheduling order.” Id. In an email reply on May 2, 2024, the
13   government stated that, “Nothing has been filed, let alone ruled on, in the Central District
14   of California that relieves you of complying with the Court’s deadlines.” Id.
15         3.     I declare under penalty of perjury under the laws of the United States of
16   America that the foregoing is true and correct and that this declaration is executed in the
17   Commonwealth of Pennsylvania on May 6, 2024.
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20                                                  __________________________
21                                                  DEREK E. HINES
                                                    Senior Assistant Special Counsel
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